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 ACLU OF HAWAII FOUNDATION                  Case No. 1:18-cv-00477-LEK-RT

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 Attorneys for Plaintiffs
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                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


  A.B., by her parents and next friends,   Case No. 1:18-cv-00477-LEK-RT
  C.B. and D.B., and T.T., by her
  parents and next friends, K.T. and       [CIVIL RIGHTS ACTION]
  S.T.,
                                           NOTICE OF APPEARANCE OF
                       Plaintiffs,         JONGWOOK “WOOKIE” KIM
                                           AS COUNSEL FOR
               vs.                         PLAINTIFFS; CERTIFICATE
                                           OF SERVICE
  HAWAII STATE DEPARTMENT OF
  EDUCATION and OAHU         [CLASS ACTION]
  INTERSCHOLASTIC
  ASSOCIATION,

                       Defendants.




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     NOTICE OF APPEARANCE OF JONGWOOK “WOOKIE” KIM AS
                   COUNSEL FOR PLAINTIFFS

       JONGWOOK “WOOKIE” KIM, of the ACLU of Hawaii Foundation,

 hereby gives notice of his appearance as counsel for Plaintiffs and requests to

 receive electronic filings via CM/ECF.

                                 DATED: Honolulu, Hawaii, January 22, 2019.

                                        Respectfully submitted,

                                        /s/ Jongwook “Wookie” Kim
                                        Jongwook “Wookie” Kim

                                        Mateo Caballero

                                        ACLU OF HAWAII FOUNDATION

                                        Elizabeth Kristen
                                        J. Cacilia Kim
                                        Kim Turner

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                                        Jayma M. Meyer
                                        Harrison J. Frahn, IV

                                        SIMPSON THACHER & BARTLETT LLP

                                        Attorneys for Plaintiffs




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                         CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the NOTICE

 OF APPEARANCE OF JONGWOOK “WOOKIE” KIM AS COUNSEL FOR

 PLAINTIFFS was duly served upon the following parties in the manner specified

 below:

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 Attorney for Defendant Oahu Interscholastic Association

                         DATED: Honolulu, Hawaii, January 22, 2019.

                                      Respectfully submitted,

                                      /s/ Jongwook “Wookie” Kim
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                                      Mateo Caballero

                                      ACLU OF HAWAII FOUNDATION

                                      Elizabeth Kristen
                                      J. Cacilia Kim
                                      Kim Turner

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                                    Harrison J. Frahn, IV

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